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1                                                 THE HONORABLE JUDGE BENJAMIN H. SETTLE
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8                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
9                                          AT TACOMA
10    OMARI TAYLOR,
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                              Plaintiff,                               NO. 3:18-cv-05682-BHS
12
      -vs-                                                             AGREED FINAL JUDGMENT
13

14    JON VANGESEN, and KITSAP COUNTY,                                 NOTE ON MOTION CALENDAR:
                                                                       August 16, 2021
15                            Defendants.
16

17                                     AGREED FINAL JUDGMENT
18
             Plaintiff, Omari Taylor, appearing through his attorneys of record James Lobsenz and
19
     Randolph Johnson, and Defendant Jon VanGesen, appearing through his attorneys of record Ione
20
     S. George, Chief Deputy Prosecuting Attorney, and Christine M. Palmer, Senior Deputy
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     Prosecuting Attorney, consent to the entry of this Agreed Final Judgment for the constitutional
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     violations alleged and in resolution of all claims brought by Plaintiff against the Defendant in this
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     action prior to adjudication of these claims at trial.
24
             Now, therefore, it is ORDERED, ADJUDGED, AND DECREED as follows:
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             Plaintiff is hereby awarded judgment against Defendant Jon VanGesen in the total sum of
26
     $200,000.00 inclusive of attorneys fees and without costs.
27

28           Defendant Jon VanGesen’s counterclaims are dismissed with prejudice.
             Plaintiff Taylor’s counter-counterclaims are dismissed with prejudice.
                                                                                                   CHAD M. ENRIGHT
                                                                                             Kitsap County Prosecuting Attorney
     AGREED FINAL JUDGMENT                                                                      614 Division Street, MS-35A
                                                                                               Port Orchard, WA 98366-4676
     (3:18-cv-05682-BHS) – Page 1                                                           (360) 337-4992 Fax (360) 337-7083
                                                                                               www.kitsapgov.com/pros
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1           Entered this 16th day of August, 2021.




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                                                 BENJAMIN H. SETTLE
5                                                United States District Judge
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9    Presented and approved as to form by:

10    CARNEY BADLEY SPELLMAN, P.S.                   CHAD M. ENRIGHT
                                                     Kitsap County Prosecuting Attorney
11

12    __/s/ James E. Lobsenz______________           /s/ Christine M. Palmer
      JAMES LOBSENZ, WSBA No. 8787                   IONE S. GEORGE, WSBA No. 18236
13    Attorney for Plaintiff                         Chief Deputy Prosecuting Attorney
14
                                                     CHRISTINE M. PALMER, WSBA No. 42560
                                                     Senior Deputy Prosecuting Attorney
15                                                   Attorneys for Defendant Jon VanGesen
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                                                                                            CHAD M. ENRIGHT
                                                                                      Kitsap County Prosecuting Attorney
     AGREED FINAL JUDGMENT                                                               614 Division Street, MS-35A
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